EA
an oO: oo 2:90-cv-00520-KJM-SCR peu
A CASE.

] counties: Alameda, Contra Costa, Del Norte, Humboldt, Lake, Marin, Mendocino, Monterey, Napa,

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284, Filed PSE5Ipr aye 1 of 11

ELW@is EuclssEa

PETIFION FOR A. WRIT OF HABEAS CORPUS

Name STANLEN DECOM Foank.

When and Where to File
You sbould file in the Northern District if you were convicted and sentenced in one of these

San Benrto, Santa Clara, Santa Craz, San Francisco, San Mateo and Sonoma. You should also file in
this district if you are challenging the noanner in which your sentence is being executed, such as loss of
good time credits, and you are confined in one of these counties. Habeas L.R. 2254-3(a).

If you are challenging your conviction or sentence and you were not convicted and sentenced in
one of the above-named fifteen counties, your petition will likely be transferred to the United States
District Count for the district in which the state cout that convicted and sentenced you is located. If
you are challenging the execution of your sentence and you are not in prison in one of these counties,
your petition will likely be transferred to the district court for the district that cludes the institution
where you are confined. Habeas 1.R. 2254-3(b).

PET. FOR WRIT OF HAB. CORPUS -~1-

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PionerNumber_C— E046 exiHERiATOHE
Institutional Address OG ATH COU. SAL Qua, CAM meee
UNI ATES DISTRICT COURT Easter
qemmalii DISTRICT OF CALIFORNIA
JTEmy Fank STANLEY )
(Enter the fotl name of plaintiff in this action.) }
VS. ; Case No.
(NeWOED RK. AN EFS } (Yo be provided by the clerk of court)
) PETITION FOR A WRIT
} OF HABEAS CORPUS
)
}
I (Entes the full name of respondeni(s) or jailor in this action) )
Read Comments Carefully Before Filling In

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mH WW tm WwW HR = &

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Who to Name as Respondent

You must name the person in whose actual custody you are. This nsually means the Warden or

| jailor. Do not name the State of Califomma, a city, a county or the supenor court of the. county m which

you are imprisoned or by whom you were convicted and sentenced. These are not proper

respondents.

Hf you are not presently in custody pursuant to the state judgment against which you seek relief

| but may be subject to such custody in the foture (e.g, détamers), you nmst name the person in whose

custody you are now and the Attomey General of the state im which the judgment you scek to attack

was entered.
A, INFORMATION ABOUT YOUR CONVICTION AND SENTENCE

1. What sentence are you challenging in this petition?

(2) Name and location of court that mposed sentence (for exanaple; Alameda

County Superior Court, Oakland):
Gute couvky OMUWMe, Gat
Cent . Location

(b) Case munber,ifknown 2 3.5 32
(c) Date and terms of sentence VS 1 ASN Oath Pesaly

(6) —_ Are you now in custody serving this term? (Custody means being in jail, on

parole or probation, etc.) Yes ‘< -No

Where?

Name of institation: SQN Quen kha

Address:

OEath mw

2. For what crime were you given this sentence? (If your petition challenges a sentence for

Mun Ooty

| more than one crmne, list each crime separately using Penal Code mumbers if known. If you are _
challenging more than one sentence, you should file a different petition for each sentence.)

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PET. FOR WRIT OF HAB. CORPUS -2-

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HN WY NM HM MN NR OR Oe ma
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3. Did you have any of the following?

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Airaignment: Yes_t“ No
Preliminary Heanng: Yes _2- No
Motion to Suppress: Yes_ No

4. How did you plead?
Guilty
Any other plea (specify) _

Not Gunlty Lo Nolo Contendere

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5. lf you went to tial, what kind of tnal did you have?
Jury a Judge alone _ Judge alone on a transcript

Yes _ + No

6. Did you testify at your tial?

7. Dad you have an attorney at the followmg proceedings:

(a) — Asraignment Yes_ No
(b) Preliminary hearing Yes_t" No
(c) Time of plea Yes +“ £No
(dq) = Tnal Yes_ No
() Sentencing Yes“ No___
(f} Appeal Yes 4 No
(g} Other post-conviction proceeding Yes te No
8. Did you appeal your conviction? Yes__lL’ No
(a) Hf you did, to what court{s) did you appeal?
Count of Appeal Yes. —s—“(<és+sSNN
Year. Result:
Supreme Court of California Yes _ 7 No
Year (995 Result__4 Hct
Any other coust Yes No
Yeas I9¢95 Rest, STi CENO WY
(b) I£you appealed, were the grounds the same as those that you are. raising in this

PET. FOR WRIT OF HAB. CORPUS | -3-

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(c)
{d)

petibon? Yes . No.
Was there an oppuon? Yes No

Did you seek permission to file a late appeal under Rule 3] (a)?
Yes__ No

If you did, give the name-of the cout and the result:

9. Other than appeals, have you previously filed any petitrons, applications or motions with respect to

thas conviction m any court, state or federal? Yes No.

[Note: lf you previously filed a petition for a writ of habeas corpus in federal court that

challenged the same conviction you are challenging now and if that petition was demed or disnussed

with prejodice, you must first file a motion in the United States Count of Appeals for the Ninth Circuit

for an order authorizing the distnct court to consider this petition. You may not file a second or
subsequent federal habeas petition without first obtaining such an order from the Ninth Circuit. 28

FT ULS.C. 8§ 2244()]

(a) If you sought relief in any proceeding other than an appeal, answer the following

questions for each proceedme. Attach extra paper if you need more space.

1.

II.

Name of Court:

Type of Proceeding:
Grounds raised (Be brief but specific):

a.

d.

c.

d.
Result: Date of Result:
Name of Court:

Type of Proceeding:
Grounds raised (Be brief but specific): ~

PET. FOR WRIT OF HAB. CORPUS -4-

‘| petitions may be dismissed without review on the merits. 28 U.S.C. §§ 2244(b); McCleskey v. Zant,

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| PET. FOR WRIT OF HAB. CORPUS -6

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need more space. Answer the same questions for each clamn.
[Note: You must present ALL your claims im your first federal habeas petition. Subsequent

499 U.S. 467, 111 S. Ct. 1454, 113 L. Ed. 24 517 (1991).]
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Supporting Facts: CWE Ke. Vath et eet iquow ou reduesl
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Supporting Facts, AUCOS for Cag Tol, LT Giemey Als Gy
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Supporting Facts; have Wek GES AldWweO WHO with
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NO \LA00 Bodo ACE Docu SAW FLCW@CISE, SU dW) CRIN,
Wany of these grounds was not previously presented to any other court, state briefly which

‘grounds were not presented and why: - .

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List, by name and citation only, any cases that you think are close factually to yours so that they
are an example of the error you believe occurred im your case. Do not discuss the holding or reasoning

of these cases:

Do you have an attomey for this petition? Yes_t— No_

if you do, give the name and address of your attomey:

WAch Leavik lord mecto ST. Gevleley, Cat
Wd
WHEREFORE, petitioner prays that the Court grant petitioner relief to which s/he may be eitided i

Ups proceeding. 1 verify under penalty of perjury that the foregomg is true and correct.

Executed on ~YUUK kk 07 Cau Ee Sdantuy

Date Signature of Petitioner

(Rev. 6/07}

PET. FOR WRIT OF HAB. CORPUS -7-

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gack Leavitt

Attorney at Law LOG TNECCEO ST
1065 A St., Suite 208 Qetehen, Cal
Bayward, CA 94541

Tel.: 510-581-9127 Q4107

FAX: 510-531-9127 — —

—"=

September 13, 2004 5\0-524- §963

Jeanne S. Woodford

Director

California Department of Corrections
P.O, Box 942883

Sacramento, CA 94283 - 0001

Re: Gerald F. Stanley, C80900 -4-E=—47 3-E- 4
Dear Director Woodford:

As the retained attorney for Gerald Stanley. | would appreciate it if you would
' investigate the present conditions under which he is confined on San Quentin’s Death
Row. You might be aware of Mr. Stanley's condition based on your previous work as
the prison’s Warden, but the pressures on him apparently have increased dramatically
in recent months. The difficulties he is facing are based on his willingness to cooperate
with Tehama County authorities, but not prison officials, in discussing the location of a
missing yictim’s body.. On advice of counsel, he is trying his best to cooperate while at
the same time protecting himself from unwarranted difficulties. Whatever help you can
provide would be appreciated.

Many thanks for your cooperation.

Sincerely,

Jack Leavitt
CSB 31960

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NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO, CALIFORNIA 94102

THELTON E. HENDERSON
SENIOR UNITES STATES DISTRICT JUDGE

March 30, 2005

Mr. Gregg Cohen, District Attorney
County of Tehama

P.O. Box 8400

Red Bluff, CA 96080

Re: Death Row Inmate Jerry F. Stanley

Dear Mr. Cohen:

This will acknowledge receipt of your letter dated February 25, 2005 asking for any
assistance I may be able to give with respect to Jerry Stanley’s desire to divulge the grave
site location of his former wife, Diana Lynn-Stanley.

i have had my law clerks do extensive research on this matter and have, as well, conferred
‘with several of my colleagues. As much as I would like to be able to help you and Mr.
Stanley, it appears that there is no way I can get involved without seriously violating my
judicial ethical obligations.

I’m writing this letter in the hope that you can show it to Mr. Stanley as proof that you did
write to me as he requested. | wish you and everyone involved every success in resolving
this heart-wrenching dilemma.

Thelton E. Henderson

United States District Judge

Sincerely yours,

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State of California

Memorandum

Date : February 14, 2007

To : Stanley,
C-80900

From : Department of Corrections, California State Prison, San Quentin, CA 94964

Subject MISPLACED INFORMAL LEVEL APPEAL

During an Audit of the Inmate Medical Appeals Tracking Progam.database in the Medicai
Appeals Office, it was discovered that an appeal filed by you on December 4, 2006,

requesting to put in writing to the judge and attorney that you have the possibility of a mental
illness, has been misplaced. If this issue has not been resolved, please submut another COCR

—602 to the Medical Appeals Office.

Thank you for your assistance in the matter.

=)

Elizabeth Ortega

Medical Appeals Coordinator (A)
Health Care Services

CSP-San Quentin State Prison

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State of Californgoe 2:90-CVv-00 See’ yooument 2284 Filed 06/15/Qfpartinet Ot Ar Qticht

Memorandum

Date : February 4, 2002
To : ALL EAST BLOCK INMATES

From : Department of Corrections, California State Prison, San Quentin CA 94964

Subject : UNIT NOISE LEVEL

All loud talking, singing, yelling, music, televisions, etc. from cells or holding cages will not be tolerated
from any inmate housed in East Block. In consideration of those inmates trying to sleep, the hours of
10:30 PM through 5:00 AM will be observed as “quiet hours” in the unit. This includes “Bayside” and
“Yardside” inmates. Please note that the “quiet hours” have changed to accommodate recent changes
in feeding times for the morning meal.

The noise level in the unit at times has exceeded reasonable proportions in the past and will not be
allowed to continue. Any inmate deemed to be escessively loud by staff will be subject to disciplinary
action.

East Block staff are instructed fo monitor the noise level of the unit and take corrective action when
necessary and whenever possible.

A. Perez M. Chacon M. Cramer

Program Lieutenant Program Lieutenant Watch Commander
Second Watch, East Block Third Watch, East Block First Watch

J. Van Blarcom J. Holzman

Program Sergeant Program Sergeant

Second Watch, East Block First Watch, East Block

GAA?-B
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CASE Nd! AO-0526 Lkk-sEM- @ B18, ¢

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